                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:16-cv-00557-RJC
                                (3:10-cr-00238-RJC-9)

MILTON EARL ADAMS,                                   )
                                                     )
                      Petitioner,                    )
                                                     )
        v.                                           )               ORDER
                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
                      Respondent.                    )
                                                     )

       THIS MATTER is before the Court on consideration of Petitioner’s pro se Motion to

Vacate, Set Aside or Correct his Sentence which he filed pursuant to 28 U.S.C. § 2255. For the

reasons that follow, Petitioner’s § 2255 Motion will be dismissed.

I.   BACKGROUND

       On December 20, 2012, Petitioner pleaded guilty pursuant to a written plea agreement to

one count of conspiracy to possess with intent to distribute marijuana, in violation of 21 U.S.C. §

§ 846 and 841(a)(1) (Count One), and one count of conspiracy to commit money laundering, in

violation of 18 U.S.C. § 1956(h) (Count Two). (3:10-cr-00238, Doc. No. 152: Third Superseding

Indictment; Doc. No. 560: Plea Agreement; Doc. No. 564: Acceptance and Entry of Guilty Plea).

On March 18, 2014, Petitioner was sentenced to a term of 270-months’ imprisonment on Count

One and a concurrent term of 240 months on Count Two. (Id., Doc. No. 649: Judgment).

Petitioner appealed this judgment, but later voluntarily dismissed the appeal. See United States v.

Adams, No. 14-4296 (4th Cir. Nov. 14, 2014).




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       Case 3:10-cr-00238-RJC          Document 753        Filed 09/26/16      Page 1 of 4
II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings” in order to determine whether a petitioner is entitled to any

relief. The Court has considered the record in this matter and applicable authority and concludes

that this matter can be resolved without an evidentiary hearing. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

III.   DISCUSSION

        In this collateral proceeding, Petitioner contends that he is entitled to relief from his

sentence based on the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551

(2015), in which the Court held that the residual clause of the Armed Career Criminal Act

(ACCA), 18 U.S.C. § 924(e), was void for vagueness and therefore unconstitutional.1 (3:16-cv-

00557, Doc. No. 1: Motion to Vacate at 4). Specifically, Petitioner contends that the two-level

gun enhancement that was applied to his Guidelines range, pursuant to § 2D1.1(b)(1) of the U.S.

Sentencing Guidelines Manual (USSG) (2013), is no longer valid in light of the holding in

Johnson. (3:10-cr-00238, Doc. No. 631: Presentence Report ¶ 60).

        The ACCA defines a violent felony as “any crime punishable by imprisonment for a term

exceeding one year ... that:

        (i) has as an element the use, attempted use, or threatened use of physical force
        against the person of another; or

        (ii) is burglary, arson, or extortion, involves use of explosives, or otherwise
        involves conduct that presents a serious potential risk of physical injury to
        another.”

1
 The Supreme Court recently explained that the holding in Johnson is retroactive to cases on collateral review. See
Welch v. United States, 136 S. Ct. 1257 (2016).

                                                         2



        Case 3:10-cr-00238-RJC                Document 753           Filed 09/26/16         Page 2 of 4
Id. § 924(e)(2)(B)(i)(ii). See Johnson, 135 S. Ct. at 2556 (“The closing words of this definition,

italicized above, have come to be known as the Act’s residual clause.”).

         As is relevant to Petitioner’s case, the Sentencing Guidelines provide that a two-level

enhancement is applicable if the defendant possessed a firearm while conspiring to commit a

drug trafficking crime. USSG § 2D1.1(b)(1). Petitioner’s argument will be rejected for two

reasons.

         First, Petitioner expressly acknowledged under oath during his Rule 11 hearing that he

understood the terms of his plea agreement and that he agreed that the two-level enhancement

was applicable to the calculation of his Guidelines range. And as this Court concluded at

sentencing, Petitioner’s guilty plea was knowingly and voluntarily entered. (3:10-cr-00238, Doc.

No. 560: Plea Agreement ¶ 6(b)). Second, the holding in Johnson has no impact whatsoever on

the two-level gun enhancement as this enhancement neither falls within the definition of a

“violent felony” or a “crime of violence.”2

IV.      CONCLUSION

         Based on the foregoing, the Court finds that Petitioner’s § 2255 motion has failed to state

a claim for relief and it will be dismissed.

         IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate, Set Aside or

Correct his Sentence under 28 U.S.C. § 2255 is DENIED and DISMISSED WITH



2
  The Fourth Circuit observed that the “term ‘crime of violence,’ and its cousin, the term ‘violent felony’ are defined
in various statutory provisions, including § 924(c), and in the Sentencing Guidelines, including section 4B1.2. In
light of the striking similarities among those definitions, the court decisions interpreting one such definition are
persuasive as to the meaning of the others.” United States v. McNeal, 818 F.3d 141, 153 n.9 (4th Cir. 2016) (citing
United States v. Williams, 67 F.3d 527, 528 (4th Cir. 1995)).



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        Case 3:10-cr-00238-RJC                 Document 753            Filed 09/26/16          Page 3 of 4
PREJUDICE. (Doc. No. 1).

        IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, the Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding that when

relief is denied on procedural grounds, a petitioner must establish both that the correctness of the

dispositive procedural ruling is debatable, and that the petition states a debatably valid claim of

the denial of a constitutional right).

        The Clerk is respectfully directed to close this civil case.

        SO ORDERED.

 Signed: September 26, 2016




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       Case 3:10-cr-00238-RJC            Document 753        Filed 09/26/16     Page 4 of 4
